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                                                                                                                    District Court
AO 91 (Rev. 11/11) Criminal Complaini


                                        United States District Court                                            DEC 1 9 2024
                                                                for the
                                                                                                                                isna Islands
                                               District of the Noithern Mariana Islands                   >

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                  United States of America                         )
                                V.                                 )
                                                                   )
                                                                   )
                                                                           Case No.
                                                                                      CR' - 2 4 ● 0 0 0 2 3
            EDWARD GENE W. RICHARDS,                               )
                                                                   )
                                                                   )
                          Defendant(s)


                                                CRIMINAL COMPLAINT

         L the complainant in this case, state that the following is true to the best of my knowledge and belief,
On or about the date(s) of               November 10-17, 2024             in the county of                                       in the

                       District ofthe Northern Mariana Islands. the defendant(s) violated:
            Code Section                                                     Offense Description
18 U.S.C.§§ 115(a)(1)(B)                       Count One: Threateninga Federal Judge
18U.S.C. §§ 875(c)                             Count Two: Transmitting a Threatening Interstate Communication




         This criminal complaint is based on these facts:

See attached Affidavit of Special Agent Jason Oakley in Support of Criminal Complaint.




         sf Continued on the attached sheet.



                                                                                             Complmfiant's signature

                                                                                        Jason Oakley, Special Agent
                                                                                              Printed name and title


Sworn to before me and signed in my presence.


Date:             12/19/2024

                                                                                                Judge's signature

City and state:                          Saipan, CNMI                             Teresa K. Kim-Tenorio, Designate Judge
                                                                                              Printed name and title
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            AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT


      Jason R. Oakley, after being duly sworn, deposes and states as follows:

       1.      I submit this Affidavit in support of the foregoing Criminal Complaint

charging Edward Gene W. Richards (“RICHARDS”), with Threatening to Assault

or Murder a United States Judge, in violation of Title 18 U.S.C § 115(a)(1)(B), and

Transmitting a Threat to Kidnap Any Person or Threatening to Injure the Person of

Another in Interstate or Foreign Commerce, in violation of Title 18 U.S.C § 875(c).

      2.      The facts in this Affidavit come from my personal observations, my

training, my experience, and information obtained from other law enforcement

officers and agents and from other witnesses. This Affidavit is intended to show

only that probable cause exists for the charge(s) in the Criminal Complaint and does

not set forth all of my knowledge or all of the information known to the government

about this matter.


            AFFIANT TRAINING, EXPERIENCE AND KNOWLEDGE


      3.      I am an investigative or law enforcement officer of the United States,

within the meaning of Section 2510(7) ofTitle 18, United States Code.

      4.       1 have been a Special Agent with the Federal Bureau of Investigation

(“FBI”) since 2002. In that capacity, I have conducted numerous investigations into

violations of federal criminal law to      include domestic terrorism and threats


communicated in interstate commerce. Prior to serving with the FBI, 1 served for
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nine years with the Texas Department of Public Safety as both a State Trooper and

Sergeant Investigator.

      5.      During my time in law enforcement, I have become knowledgeable

about the enforcement of State and Federal laws pertaining to terroristic threats and

the means of transmitting threats via interstate commerce by use of wireless

electronic communication.


                                 PROBABLE CAUSE


      6.      The United States, including the FBI and United States Marshal’s

Service (“USMS”), is conducting a criminal investigation regarding possible

violations of 18 U.S.C § 115(a)(1)(B) and 18 U.S.C § 875(c).

      7.      On November 14, 2024, Special Agent Jason R. Oakley (“SA Oakley”)

of the FBI was notified by Deputy United States Marshal Samuel Sosa (“DUSM

Sosa”) of a series of harassing and threatening emails sent to United States Probation

for the District of the Northern Mariana Islands. The emails were sent to the publicly


available    inbox   at   GUPml NMI.    Over    1,000 emails were received from

doe461428@gmail.com between November 10 and November 17, 2024. A review

of the emails revealed threats to government officials, threats to bomb Saipan, and a

threat to kill United States District Judge Ramona Manglona.

      8.      On November 10, 2024, at 2:40 a.m. ChST, doe461428@gmail.com

sent the following email to GUPml_NMI: “Okay the Federal Court House can shut
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down TSA Officer Edward Duane Quitugua Richards or let’s disappear him.” On

November 10, 2024, at 9:27 p.m. ChST, doe461428@gmail.com sent the following

email to GUPml_NMI: “Than its we know I know right right I just want to kill judge

Ramona.” OnNovember 11,2024, at2:03 p.m. ChST, doe461428@gmail.c om sent

the following email to GUPml_NMI: “She better not go from there or I will start

bombing up saipan.

        9.       On November 14, 2024, at 5:00 p.m. ChST, SA Oakley requested

subscriber information from Google LLC via an emergency disclosure request. At

5:15 p.m. ChST on the same date Google LLC provided requested information

indicating that doe461428@gmail.com was using a BLU Android phone Model

G71L,         Android   ID   3801465288727833168,       IMEl(s)    359529380156187,

359529380106182,         Serial    G0710WW:2010308022805612        (“Suspect    Device

Identifiers”) utilizing internet service provider (“ISP”) IT&E.

        10.      On November 14, 2024, at 6:47 p.m. ChST, SA Oakley requested

subscriber information via emergency disclosure request for the Suspect Device

Identifiers.     On November 15, 2024, at 10:13 a.m. ChST, IT&E provided the

following information regarding the Suspect Device Identifiers: Call Number 670-

789-0488 with IMS! 310110670789981, a pre-paid wireless phone with no

identified subscriber.


        11.      On November 18, 2024, at 11:16 a.m. ChST, SA Oakley was notified
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by DUSM Sosa that an additional email, scarballon@gmail.com, was sending

harassing emails to GUPml_NMI with a writing style similar to that of

doe461428@gmail.com with multiple references to United States District Judge

Ramona Manglona. SA Oakley requested subscriber information from Google LLC

via   emergency       disclosure     to   request    subscriber     information   for

scarballon@gmail.com.      Subscriber information provided by Google LLC for

scarballon@gmail.com was identical to the Suspect Device Identifiers for

doe461428@gmail.com.

      12.     A review of emails sent by doe461428@gmail.com determined that on

November 9, 2024, at 8:04 p.m. ChST, an email was sent including the line “This is

Edward Gene Worswick Richards.


      13.     DUSM Sosa verified the Transportation Safety Administration

(“TSA”) Saipan International Airport (“SIA”) Office has an employee named

Edward Duane Richards that was referenced in the threat dated November 10, 2024.


On November 19, 2024, DUSM Sosa interviewed TSA Officer Richards at SIA.

Officer Richards indicated that RICHARDS is his (TSA Officer Richards’s) nephew

and Worswick is RTCHARDS’s mother’s maiden name. TSA Officer Richards told


the investigating officers he believes RICHARDS lives with his father, Florencio

Richards, and that RICHARDS suffers from mental health issues.

      14.     In November of 2020, RICHARDS was arrested and charged with
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Robbery in the Superior Court for the Commonwealth of the Northern Mariana

Islands.     According to the Infomation filed in Criminal Case No. 20-0184E,

RICHARDS “unlawfully took property             by use or threatened use of immediate

force or violence” and “used a dangerous weapon, namely, a machete and/or knife.

to obtain the property, to wit: US Currency and cigarettes.” On January 5, 2022, the

case was dismissed after RICHARDS was found to be incompetent.

       15.     On December 19, 2024, your Affiant conducted a review of the larger

files that were contained in the emails sent to United States Probation. On November


11, 2024, at 6:18 a.m. ChST, an email was sent with an attachment of a video file

VID20241112_001710.mp4 which is a “selfie” video of RICHARDS sitting on a

bed wearing a grey t-shirt. On November 10, 2024, at 10:46 p.m. ChST, an email

was sent with an attachment of a video file VID20241111_164602.m p4 which is a

 selfie” video of RICHARDS sitting at a picnic table with an unidentified woman

wearing a blue t-shirt and white headphones on his head.

                                   CONCLUSION


       16.     Based on the foregoing, I have probable cause to believe that

RICHARDS has committed the offenses Threatening to Assault or Murder a United

States Judge, in violation of Title 18 U.S.C § 115(a)(1)(B), and Transmitting a

Threat to Kidnap Any Person or Threatening to Injure the Person of Another in

Interstate or Foreign Commerce, in violation of Title 18 U.S.C § 875(c).
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      17.     I have shown this affidavit and the accompanying complaint to

Assistant United States Attorney Garth Backe, and he informs me that the complaint

and affidavit are in proper form.




                                              Respectfully submitted,


                                                  A
                                              Jasoh R. Oakley
                                              Special Agent
                                              Federal Bureau of Investigation


SUBSCRIBED AND SWORN TO before me on this 19th                   tyof-Oecember 2024.




                                               JP^fesa K. Kim-Tenorio
                                               Designate Judge '
